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     -· (CASDRev. 08/ 14) Judgment in a Petty Criminal Case
• ACJ2458


                                           UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA
                 UNITED STA TES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                                      V.                               (For Offenses Committed On or After November I, 1987)


                      Gustavo Lazcano-Neria                               Case Number:         20-mj-04538-AHG
                                                                       R an Stitt
                                                                       Defendant"s Attorney
   REGISTRATION NO.                   96213298
   • -
   The Defendant:

   D     pleaded guilty to count(s)

   IZI   was found guilty on count(s)           Count 1 of Complaint
       after a olea of not i?uiltv.
   Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                        Count
   Title & Section                         Nature of Offense                                                           Number(s)
   8 use J325(a)(l)                        Improper Attempted Entry by an Alien (Misdemeanor)                               I




         The defendant is sentenced as provided in pages 2 through               2            of this judgment.


   D     The defendant has been found not guilty on count(s)

   D     Count(s)                                                are   dismissed on the motion of the United States.

         Assessment :
   IZI    Pursuant to the motion of the United States under 18 USC 3573 , the special assessment provided for under I 8 USC 3013 is
         waived and remitted as uncollectible.

   IZI   No fine                  D Forfeiture pursuant to order filed                                            , included herein.
          IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
   change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
   judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
   any material change in the defendant's economic circumstances.

                                                                       November 5. 2020
                                                                       Date of Imposition of Sentence



                                                                       HON. Allison H. Goddard
                                                                       UNITED STA TES MAGISTRATE JUDGE



                                                                                                                   20-mj-04538-AHG
         Case 3:20-mj-04538-AHG-TWR Document 26 Filed 11/05/20 PageID.54 Page 2 of 2
• AO 245B (CASO Rev. 08/14) Judgment in a Petty Criminal Case

  DEFENDANT:                Gustavo Lazcano-Neria                                                    Judgment - Page 2 of 2
  CASE NUMBER:              20-mj-04538-AHG

                                                   IMPRISONMENT
   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
   TIME SERVED




   •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
   •     The court makes the following recommendations to the Bureau of Prisons: ·




   •     The defendant is remanded to the custody of the United States Marshal.

   •     The defendant shall surrender to the United States Marshal for this district:
         •    at
                   --------- P.M.                               on
         •    as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
   •     Prisons:
         •    on or before
         •    as notified by the United States Marshal.
         •    as notified by the Probation or Pretrial Services Office.

                                                         RETURN

   I have executed this judgment as follows:

         Defendant delivered on                                            to

   at - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                     UNITED STATES MARSHAL



                                       By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      20-mj-04538-AHG
